Case 1:17-cv-01742-JFM Document 2 Filed 06/26/17 Page 1of13

IN THE CIRCUIT COURT FOR ANNE ARUNDEL COUNTY, MARYLAND

PAUL BRUCE, Individually and *
as Personal Representative of the
Estate of PATRICIA BRUCE *
118 Lake Shore Drive
Pasadena, Maryland 21122 * CASE NO.:
LESLIE BROWN *
118 Lake Shore Drive
Pasadena, Maryland 21122 *
BRYAN BRUCE *
118 Lake Shore Drive
Pasadena, Maryland 21122 ;
TO THE USE OF LAURA BRUCE *
118 Lake Shore Drive
Pasadena, Maryland 21122 *
Plaintiffs *
Vv. *
J.B. POINDEXTER & CO., INC, *
1100 Louisiana, Suite 5400
Houston, Texas 77002 *
s/o RESIDENT AGENT *
CORPORATION SERVICE
COMPANY d/b/a CSC *
LAWYERS INCORPORATING
SERVICE COMPANY *
600 Travis, Suite 200
Houston, Texas 77002 *

POTTER BURNETT LAW

16701 MELFORD SLYD TRUCK ACCESSORIES GROUP,LLC *

SUITE 321 .
BOWIE, MD 20715 28858 Ventura Drive

301.850.7000 Elkhart, Indiana 46517

 

 

 
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Case 1:17-cv-01742-JFM Document 2

s/o RESIDENT AGENT
CORPORATION SERVICE
COMPANY

135 North Pennsylvania Street,
Suite 1670

Indianapolis, Indiana 46204

WAYPOINT LOGISTICS, LLC
58288 Ventura Drive
Elkhart, Indiana 46517

sfo RESIDENT AGENT
CORPORATION SERVICE
COMPANY

1385 North Pennsylvania Street,
Suite 1610

Indianapolis; Indiana 46204

STATE WIDE ALUMINUM, INC.

d/b/a STATE WIDE WINDOWS, INC.

23601 C.R. 6 East, P.O. Box 987
Elkhart, Indiana 46515

s/o RESIDENT AGENT
CORPORATION SERVICE
COMPANY

135 North Pennsylvania Street,
Suite 1610

Indianapolis, Indiana 46204

CENTURY TRUCK & TRAILER
SALES, INC.

4111 Meyer Road

Fort Wayne, Indiana 46806

s/o RESIDENT AGENT
ROBERT M. HUGHES
4111 Meyer Road

Fort Wayne, Indiana 46806

Filed 06/26/17 Page 2 of 13

 
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Case 1:17-cv-01742-JFM Document 2

LEER
12 N. Industrial Park Road
Milton, Pennsylvania 17847

s/o RESIDENT AGENT
CORPORATION SERVICE
COMPANY

135 North Pennsylvania Street,
Suite 1610

Indianapolis, Indiana 46204

SNUGTOP
1711 Harbor Ave.
Long Beach, CA 90813

s/o RESIDENT AGENT
CORPORATION SERVICE
COMPANY

135 North Pennsylvania Street,
Suite 1610

Indianapolis, Indiana 46204

PACE EDWARDS COMPANY
2400 Commercial Blvd.
Centralia WA 98534

s/o RESIDENT AGENT
CORPORATION SERVICE
COMPANY

135 North Pennsylvania Street,
suite 1610

Indianapolis, Indiana 46204

RAIDER INDUSTRIES
58288 Ventura Drive
Elkhart, Indiana 46517

sfo RESIDENT AGENT
CORPORATION SERVICE
COMPANY

135 North Pennsylvania Street,

Filed 06/26/17 Page 3 of 13
Case 1:17-cv-01742-JFM Document 2 Filed 06/26/17 Page 4 of 13

 

Suite 1610
Indianapolis, Indiana 46204 *
RONNIE KIETH LEHMAN *
44 Stanton Avenue
Milton, Pennsylvania 17847 *
Defendants *
COMPLAINT

Plaintiffs, the Estate of Patricia Bruce, by and through Paul Bruce,
Individually and as Personal Representative, Leslie Brown and Bryan Brown,
surviving children of Decedent Patricia Bruce, by and through their attorneys,
Deborah L. Potter, Andrew T. Burnett, and Potter Burnett Law, LLC, bring suit
against Defendants, Ronnie Kieth Lehman (hereinafter “Defendant Lehman’), J.B.
Poindexter & Co., Inc., Truck Accessories Group, LLC, Waypoint Logistics, LLC,
State Wide Aluminum, Inc., d/b/a State Wide Windows, Inc., Century Truck and
Trailer Sales, Inc., Leer, SnugTop, Pace Edwards Company, and Raider
Industries, and states as follows:

INTRODUCTION

|. Jurisdiction of this Court is founded upon the fact that the collision took
place on Interstate 97 in Anne Arundel County, Maryland.

2. The Estate of Patricia Bruce was opened with the Anne Arundel! County

Registrar of Wills, Estate No. 86307.

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Case 1:17-cv-01742-JFM Document 2 Filed 06/26/17 Page 5of13

3. The claim for Plaintiff, The Estate of Patricia Bruce, has been brought by
ihe Decedent's husband and Personal Representative of the Estate, Paul Bruce,

pursuant to §7-401 of the Estates and Trusts Ariicle.

4. Plaintiff, Paul Bruce, is the husband of the Decedent, Patricia Bruce, and

is a resident of Pasadena, Maryland.

5, Plaintiff, Leslie Brown, is the daughter of the Decedent, Patricia Bruce,

and is a resident of Pasadena, Maryland.

§. Plaintiff, Bryan Bruce, is the son of the Decedent, Patricia Bruce, and is

a resident of Pasadena, Maryland.

7. Use Plaintiff, Laura Bruce, is the daughter of the Decedent, Patricia

Bruce, and is a resident of Pasadena, Maryland.

8. Upon information and belief, Defendant Ronnie Lehman is a resident of

Milton, PA, and was driving the tractor trailer involved in this collision.

9. Upon information and belief, Defendant J.B. Poindexter & Co., Inc. is a

corporation that regularly conducts business in the State of Maryland.

10. Upon information and belief, Defendant Truck Accessories Group, LLC
is a limited liability company that regularly conducts business in the State of

Maryland,

11. Upon information and belief, Defendant Waypoint Logistics, LLC. is a

limited liability company that regularly conducts business in the State of Maryland.
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Case 1:17-cv-01742-JFM Document 2 Filed 06/26/17 Page 6 of 13

42. Upon information and belief, Defendant State Wide Aluminum, Inc.,
d/b/a State Wide Windows Inc. is a corporation that regularly conducts business in

fhe State of Maryland.

13. Upon information and belief, Defendant Century Truck & Trailer Sales,

Inc. is a corporation that regularly conducts business in the State of Maryland.

14. Upon information and belief, Defendant Leer is a company that regularly

conducts business in the State of Maryland.

15. Upon information and belief, Defendant SnugTop is a company that

regularly conducts business in the State of Maryland.

16. Upon information and belief, Defendant Pace Edwards Company is a

company that regularly conducts business in the State of Maryland.

17. Upon information and belief, Defendant Raider industries is a company

that regularly conducts business in the State of Maryland.

STATEMENT OF FACTS

The Plaintiffs incorporate paragraphs 1-17 above and further state as
follows:

18. On or about June 12, 2014, the Decedent, Patricia Bruce, lawfully
stopped her vehicle on the shoulder of Interstate 97 near the Wellham Avenue

overpass in Anne Arundel County, Maryland. Ms. Bruce exited her vehicie.
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Case 1:17-cv-01742-JFM Document 2 Filed 06/26/17 Page 7 of 13

19. At the same time and piace, Defendant Lehman was operating a 2014
Freightliner tractor trailer truck, owned by Defendant Waypoint Logistics, LLC., and

pulling a 2007 Fontain Trailer (#134), owned by Truck Accessories Group, LLC.

20. Defendant Lehman negligently failed to keep a proper lookout,
negligently failed to keep proper control of his vehicle, negligently failed to stay in
his lane, negligently left his lane of travel when unsafe to do so, negligently failed
to control the speed of his vehicle to avoid a collision, negligently failed to control
the vehicle he was operating, negligently failed to properly load the trailer, and was
otherwise careless and negligent in the operation of his vehicle thereby striking

Ms. Bruce’s head and body causing fatal injuries.

21. The Decedent, Patricia Bruce, was taken by ambulance to The
University of Maryland Shock Trauma Center, and was pronounced dead at

approximately 1:43 a.m. on June 13, 2014.

22. The Decedent, Patricia Bruce, at the time of her death, was survived by
her husband, Paul Bruce, and her children, Leslie Brown, Bryan Bruce, and Laura

Bruce.

COUNT |L- WRONGFUL DEATH

The Plaintiffs incorporate paragraphs 1-22 above and further state as
follows:

23. The negligence of the Defendant, Ronnie Lehman individually, and who

was acting at all times relevant herein as the agent, servant, and/or employee of
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Case 1:17-cv-01742-JFM Document 2 Filed 06/26/17 Page 8 of 13

J.B. Poindexter & Co., Inc., Truck Accessories Group, LLC, Waypoint Logistics,
LLC, State Wide Aluminum, Inc., d/b/a State Wide Windows, Inc., Century Truck
and Trailer Safes, Inc., Leer, SnugTop, Pace Edwards Company, and Raider
industries, was the proximate cause of the collision in that Defendant negligently
failed to keep a proper lookout, negligently failed to keep proper control of his
vehicle, negligently failed to stay in his lane, negligenily left his lane of travel when
unsafe to do so, negligently failed to control the speed of his vehicle to avoid a
collision, negligently failed to conirol the vehicle he was operating, negligently
failed to properly load the trailer, and was otherwise careless and negligent in the
operation of his vehicle.

24. As a direct and proximate result of Defendants’ negligence in causing
the death of Decedent Patricia Bruce, Plaintiffs Paul Bruce, Leslie Brown, and
Bryan Brown, have sustained economic damages and less, mental anguish,
emotional pain and suffering, loss of society, companionship, comfort, protection,

parental care, advice, counsel, training, guidance, and education.

WHEREFORE, Plaintiffs, Paul Bruce, husband of Patricia Bruce, Leslie Brown,
and Bryan Brown, surviving children of Decedent Patricia Bruce, demand judgment
against the Defendants for their wrongful death claims, jointly and severally, in
excess of Seventy-Five Thousand Dollars ($75,000.00) in economic and non-

economic damages, plus costs, pre-judgment interest and post-judgment interest.
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Case 1:17-cv-01742-JFM Document 2 Filed 06/26/17 Page 9 of 13

COUNT II - SURVIVAL ACTION

The Plaintiff, Paul Bruce, as Personal Representative of the Estate of Patricia
Bruce, incorporates paragraphs 1-24 above and further states as follows:

25. The negligence of the Defendant, Ronnie Lehman individually, and who
was acting at all times relevant herein as the agent, servant, and/or employee of
J.B. Poindexter & Co., Inc., Truck Accessories Group, LLC, Waypoint Logistics,
LLC, State Wide Aluminum, Inc., d/b/a State Wide Windows, Inc., Century Truck
and Trailer Sales, Inc., Leer, SnugTop, Pace Edwards Company, and Raider
Industries, was the proximate cause of the collision in that Defendant negligently
failed to keep a proper lookout, negligently failed to keep proper control of his
vehicle, negligently failed to stay in his lane, negligently left his lane of travel when
unsafe to do so, negligently failed fo contro! the speed of his vehicle to avoid a
callision, negligently failed to control the vehicle he was operating, negligently
failed to properly load the trailer, and was otherwise careless and negligent in the
operation of his vehicle.

26. As a direct and proximate result of Defendant Lehman’s negligence,
Patricia Bruce suffered pre-impact fright, post-impact pain and suffering, medical

bills and funeral expenses.

WHEREFORE, Plaintiff, The Estate of Patricia Bruce demands judgment against
the Defendants, jointly and severally, in excess of Seventy-Five Thousand Dollars
($75,000.00) in economic and non-economic damages, plus costs, pre-judgment

interest and post-judgment interest,
Case 1:17-cv-01742-JFM Document 2 Filed 06/26/17 Page 10 of 13

COUNT Hl — NEGLIGENT ENTRUSTMENT

The Plaintiffs incorporate paragraphs 1-26 above and further state as
follows:

27. At the time and place of this collision, the Defendant, Ronnie Lehman,
was acting as the agent, servant and/or employee of Defendant, J.B. Poindexter &
Go,, Inc., Truck Accessories Group, LLC, Waypoint Logistics, LLC, State Wide
Aluminum, tnc., d/b/a State Wide Windows, Inc., Century Truck and Trailer Sales,
Inc., Leer, SnugTop, Pace Edwards Company, and Raider Industries. Despite the
knowledge which J.B. Poindexter & Co., Inc., Truck Accessories Group, LLC,
Waypoint Logistics, LLC, State Wide Aluminum, Inc., d/b/a State Wide Windows,

‘Inc., Century Truck and Trailer Sales, Inc., Leer, SnugTop, Pace Edwards
Company, and Raider Industries had or should have had, the tractor trailer and
accompanying load was still entrusted to Ronnie Lehman, and J.B. Poindexter &
Co,, Inc., Truck Accesseries Group, LLC, Waypoint Logistics, LLC, State Wide
Aluminum, Inc., d/b/a State Wide Windows, Inc., Century Truck and Trailer Sales,
Inc., Leer, SnugTop, Pace Edwards Company, and Raider Industries further
negligently failed to properly supervise Defendant Lehman during the loading,
securing of the load, and use of the vehicle.

28. As a result of the negligence of Defendants J.B. Poindexter & Co., Inc.,
Truck Accessories Group, LLC, Waypoint Logistics, LLC, State Wide Aluminum,
Inc., d/b/a State Wide Windows, Inc., Century Truck and Trailer Sales, Inc., Leer,

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16701 ire an BLVD SnugTop, Pace Edwards Company, Raider Industries and Ronnie Lehman, who

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301.850.7000 was acting at ail times relevant herein as the agent, servant, and/or employee of

 

 

 
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Case 1:17-cv-01742-JFM Document 2 Filed 06/26/17 Page 11 of 13

Defendants J.B. Poindexter & Co., Inc., Truck Accessories Group, LLC, Waypoint
Logistics, LLC, State Wide Aluminum, Inc., d/b/a State Wide Windows, Inc.,
Century Truck and Trailer Sales, Inc., Leer, SnugTop, Pace Edwards Company,

and Raider Industries, Decedent Patricia Bruce suffered fatal bodily injuries.

29. Decedent Patricia Bruce was a member of a foreseeable class of
persons who would be at risk of suffering physical harm as a result of Defendant

Lehman's operation of a 2014 Freightliner tractor trailer truck.

WHEREFORE, the Plaintiffs demand judgment against Defendants J.B. Poindexter
& Co., Inc., Truck Accessories Group, LLC, Waypoint Logistics, LLC, State Wide
Aluminum, Inc., d/b/a State Wide Windows, Inc., Century Truck and Trailer Sales,
inc., Leer, Snuglop, Pace Edwards Company, and Raider Industries, in excess of
Seventy-Five Thousand Dollars ($75,000.00), plus costs, pre-judgment interest and

post-judgment interest.

COUNT IV —- NEGLIGENT HIRING, SUPERVISION, AND RETENTION
The Plaintiffs incorporate paragraphs 1-29 above and further state as

follows:

30, Defendants, J.B. Poindexter & Co., Inc., Truck Accessories Group,
LLC, Waypoint Logistics, LLC, State Wide Aluminum, Inc., d/b/a State Wide
Windows, Inc., Century Truck and Trailer Sales, Inc., Leer, SnugTop, Pace

Edwards Company, and Raider Industries, had a duty to use reasonable care to

 
Case 1:17-cv-01742-JFM Document 2 Filed 06/26/17 Page 12 of 13

select an employee who was competent and fit to perform the duties required as

an employee.

31. Defendants, J.B. Poindexter & Co., Inc., Truck Accessories Group,
LLC, Waypoint Logistics, LLC, State Wide Aluminum, Inc., d/b/a State Wide
Windows, Inc., Century Truck and Trailer Sales, Inc., Leer, SnugTop, Pace
Edwards Company, and Raider Industries, knew, or should have known, that
Defendant Lehman was not competent or fit for the duties required of him as an
employee, and that Defendant Lehman would be likely to operate a tractor trailer

in a negligent and reckless manner.

32. Asa result of Defendants negligence in hiring and retaining Defendant

Lehman, the Plaintiffs suffered the aforementioned injuries.

WHEREFORE, the Plaintiffs demand judgment against Defendants J.B. Poindexter
& Co., Inc., Truck Accessories Group, LLC, Waypoint Logistics, LLC, State Wide
Aluminum, Inc., d/b/a State Wide Windows, Inc., Century Truck and Trailer Sales,
Inc., Leer, SnugTop, Pace Edwards Company, and Raider Industries, in excess of
Seventy-Five Thousand Dollars ($75,000.00), plus costs, pre-judgment interest and

postjudgment interest.

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Case 1:17-cv-01742-JFM Document 2 Filed 06/26/17 Page 13 of 13

Respectfully Submitted,

Ab

Deborah L. Potter

Andrew T. Burnett

Attorney for Plaintiffs

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